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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-18-00422-PHX-DJH
10                  Plaintiff,                        ORDER
11   v.
12   Michael Lacey et al.,
13                  Defendants.
14
15          As set forth on the record at the Status Conference held on August 18, 2023,
16          IT IS ORDERED that the following one-hundred ten (110) prospective jurors shall
17   report for jury selection:
18                 Juror Number
19    1.           8
20    2.           23
21    3.           65
22    4.           135
23    5.           136
24    6.           148
25    7.           159
26    8.           192
27    9.           201
28
      10.          206
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 1   11.       220
 2   12.       280
 3   13.       312
 4   14.       316
 5   15.       324
 6   16.       336
 7   17.       337
 8
     18.       410
 9
     19.       428
10
     20.       430
11
     21.       433
12
     22.       457
13
     23.       474
14
     24.       509
15
     25.       545
16
     26.       557
17
     27.       559
18
19   28.       582

20   29.       611

21   30.       622

22   31.       623

23   32.       654
24   33.       676
25   34.       710
26   35.       730
27   36.       818
28   37.       863


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 1   38.       864
 2   39.       874
 3   40.       876
 4   41.       939
 5   42.       958
 6   43.       1018
 7   44.       1028
 8
     45.       1087
 9
     46.       1114
10
     47.       1161
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     48.       1164
12
     49.       1172
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     50.       1204
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     51.       1215
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     52.       1224
16
     53.       1241
17
     54.       1242
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19   55.       1316

20   56.       1331

21   57.       1356

22   58.       1364

23   59.       1370
24   60.       1398
25   61.       1412
26   62.       1417
27   63.       1449
28   64.       1505


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 1   65.       1525
 2   66.       1539
 3   67.       1585
 4   68.       1594
 5   69.       1615
 6   70.       1702
 7   71.       1709
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     72.       1710
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     73.       1718
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     74.       1723
11
     75.       1754
12
     76.       1756
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     77.       1757
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     78.       1762
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     79.       1792
16
     80.       1807
17
     81.       1809
18
19   82.       1824

20   83.       1859

21   84.       2802

22   85.       2804

23   86.       2808
24   87.       2809
25   88.       2811
26   89.       2812
27   90.       2820
28   91.       2824


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 1   92.          2834
 2   93.          2837
 3   94.          2844
 4   95.          2849
 5   96.          2855
 6   97.          2857
 7   98.          2858
 8
     99.          2860
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     100.         2868
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     101.         2869
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     102.         2873
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     103.         2876
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     104.         2880
14
     105.         2884
15
     106.         2885
16
     107.         2892
17
     108.         2905
18
19   109.         2908

20   110.         2911

21          Dated this 18th day of August, 2023.

22
23
24                                                 Honorable Diane J. Humetewa
                                                   United States District Judge
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27
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